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UNITED STATES DISTRICT COURT * AiSTRI
DISTRICT OF NEW HAMPSHIRE

LITTLETON COIN COMPANY, INC.
Civil Case No.:

v.
JURY TRIAL DEMANDED
CLAIM OF UNCONSTITUTIONALITY

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NATIONAL COLLECTOR’S MINT, INC.

COMPLAINT FOR DECLARATORY JUDGMENT AND DAMAGES

Plaintiff Littleton Coin Company, Inc. (“Littleton Coin”), for its complaint against
National Collector’s Mint, Inc. (“NCM7”), alleges as follows:

Nature of Action

1, Littleton Coin is in the business of re-selling commemorative medals bearing the
name and likeness of former President Ronald W. Reagan after obtaining them from the United
States Mint and plating them with gold or silver. Despite the fact that the United States
government issues the medals, NCM claims to hold an exclusive license to rights of publicity
and the use of former President Reagan’s name and image on plated or colorized coins and
medals, and has threatened Littleton Coin with suit unless it stops selling these medals. Littleton
Coin seeks the Court’s declaratory judgment ruling that NCM has no such exclusive license
rights, a preliminary and permanent injunction, and damages on account of NCM’s improper
threats and intentional interference with Littleton Coin’s right to sell the Reagan medals and
similar products.

Jurisdiction And Venue

2. In this action, Littleton Coin invokes the United States and New Hampshire.

Constitutions, federal law and statutes and New Hampshire law. This Court therefore has

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original jurisdiction under 28 U.S.C. §§ 1331 and 1338(b), and pendant and supplemental
jurisdiction under 28 U.S.C. § 1367.

3. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2) and (c).

The Parties

4, Littleton Coin is a New Hampshire Corporation with offices, a principal place of
business and address at 1309 Mt. Eustis Road, Littleton, New Hampshire 03561-3735, and is a
national distributor and seller of collectible coins, medals, paper money and related merchandise.

5. NCM is a Delaware Corporation with offices and a principal place of business
and address at Suite 2, 8 Slater Street, Port Chester, New York 10573, and is a competitor of
Littleton Coin in the collectible coins and medals market.

Personal Jurisdiction

6. NCM does mail order business throughout the United States through catalogs and
a “virtual store” on the internet and through the United States mail and, on information and
belief, solicits and/or does sufficient business in and with the citizens of New Hampshire to have
resulting general jurisdictional contacts here.

7. NCM sent correspondence to Littleton Coin in New Hampshire that asserts that
Littleton Coin, through sales of medals originating in New Hampshire and purchased via
Littleton Coin’s own web site and “virtual store” here, is infringing on NCM’s alleged property
rights. NCM has threatened legal action concerning Littleton Coin’s sales of those medals,
which are present in and originate from New Hampshire, and has also attempted to enter into a
licensing contract with Littleton Coin concerning those medals. This action therefore also relates

to acts and injuries in New Hampshire and resulting specific jurisdictional contacts here.

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Statement of Facts

8. For some time, Littleton Coin has sold commemorative Presidential medals
bearing the profile of former President Ronald W. Reagan accompanied by the words
“RONALD REAGAN, PRESIDENT OF THE UNITED STATES” and, on the reverse side, a
depiction of Half Dome and the words“... LET US RENEW OUR FAITH AND OUR HOPE.
WE HAVE EVERY RIGHT TO DREAM HEROIC DREAMS... .”: “INAUGURATED
JANUARY 20, 1981”; and “YOSEMITE NATIONAL PARK”. (Hereafter, these medals will
be called the “Reagan Presidential Medals”),

9, Prior to sale to its customers, Littleton Coin purchases Reagan Presidential
Medals from the United States Mint, which has sold Reagan Presidential Medals since the 1980s
and sells two versions — one with and one without a clear protective coating. The United States
Mint seils the version without the protective coating so that purchasers may plate and/or colorize
the medals and resell them.

10, On information and belief, the United States Mint determined that the images on
the Reagan Presidential Medals are in the public domain prior to offering them for sale to the
public and commemorative coin and medal dealers like Littleton Coin and NCM, among others,
for re-sale.

11. Littleton Coin has a thin layer of gold or silver applied to the surface of the
Reagan Presidential Medals without protective coatings and then sells the plated medals to its
customers over the internet and through the United States mail. This plating process does not

change the image on the medal, but only adds a thin surface metal layer of a different color.

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12. NCM also purchases the Reagan Presidential Medals from the United States Mint,
either has a thin layer of gold or silver applied or otherwise colorizes the surface, and then sells
Reagan Presidential Medals to its customers over the internet and through the United States mail.

13. NCM advertises the Reagan Presidential Medals for sale on its website servers

and sells them by orders received “on-line”. Embedded within NCM’s website advertisements is

a link, http://reaganlibrary.com, which directs its customers to the site for the Ronald Reagan
Presidential Library Foundation (the “Foundation”), a public charity associated with the late
President, where NCM is listed among the “Official Reagan Foundation Licensees.” True and
correct copies of the present NCM webpage advertisements depicting the Reagan Presidential
Medals are attached as Exhibit 1.

14. —_ Littleton Coin has also advertised the Reagan Presidential Medals for sale on its
website servers in New Hampshire and sold them by orders received in Littleton, New
Hampshire. Nowhere in its advertising does Littleton Coin refer to NCM, the Foundation or
status concerning any alleged licensure or not by the Foundation. True and correct copies of
Littleton Coin’s webpage advertisements depicting the Reagan Presidential Medals are attached

as Exhibit 2.

NCM’s Threats Of Legal Action And Claims

15. On or about July 9, 2004, counsel for NCM wrote to Littleton Coin claiming
NCM to be the exclusive licensee of the Foundation for rights of publicity and rights in and to
the use of the name, likeness and image of President Ronald W. Reagan on various coins and
medals listed on an exhibit to its alleged license agreement with the Foundation (hereafter, the
“Contested Rights”). A true and correct copy of that letter with its attachments asserting the

Contested Rights is attached to this Complaint as Exhibit 3.

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16. In its July 9, 2004 letter, NCM stated it had filed an action against parties other
than Littleton Coin in California Federal Court in June 2004 seeking to enforce the Contested
Rights, and had settled with all other defendants in that action concerning the Contested Rights
through Consent Judgments with those parties. Littleton Coin was not named as a defendant in
the California action and has not agreed to any resolution concerning the Contested Rights.

17. On information and belief, that California action is now concluded, but for the
California District Court’s continuing jurisdiction to enforce those Consent Judgment settlement
agreements. Littleton Coin is not aware of any contested judicial adjudication of the validity and
scope of the Contested Rights in that case or any other case.

18. NCM in its July 9, 2004 letter asserted that the Reagan Presidential Medals
purchased, plated and sold by Littleton Coin infringed upon its asserted Contested Rights,
violated NCM’s rights in the Reagan right of publicity and constituted false designation of origin
and unfair competition, under both state and federal law.

19. NCM in its July 9, 2004 letter threatened litigation that would seek a restraining
order if Littleton Coin did not “discontinue the promotion and sale of any coins and/or medals
bearing the Reagan Image.” NCM claimed a right against infringement of the items that fell
within the scope of Exhibit 1 to that letter, which is Exhibit 3 to this Complaint.

20. Among the items about which NCM claimed exclusive property rights in its letter
of July 9, 2004 were the following items “featuring the likeness of President Ronald W. Reagan
and/or key historic moments or elements of his presidency”: 1) colorized United States legal
tender coins; 2) color photos or renderings on an American Eagle Bullion Coin, Statehood

Quarters and/or other coinage; 3) one or more new foreign legal tender coins; 4) coin and

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MARTIN PLLC 5

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currency replicas struck in gold or silver foil and/or in solid metal or covered with gold or silver;

and 5) United States Mint medals covered in gold and/or silver or colorized.

21. On or about July 20, 2004, NCM followed its letter and presented Littleton Coin
with a form of proposed License Agreement under which it would receive royalties of nine
percent (9%) on all of Littleton Coin’s gross sales of Reagan Presidential Medals and that limited
and proscribed Littleton Coin’s right to sell the Reagan Presidential Medals or similar products.
A true and correct copy of the proposed License Agreement is attached as Exhibit 4.

22. Asaresult of NCM’s threats, Littleton Coin notified NCM that it would stop
selling the Reagan Presidential Medals to avoid the alternative threatened litigation or License
Agreement, but protested that NCM did not validly possess the Contested Rights.

23. In response, NCM continued to seek remuneration from Littleton Coin in the form
of royalties for past sales of approximately $25,000.

24. On information and belief, due to his recent death and the interest of the public,
Congress is likely to authorize and the United States Mint is likely to issue additional forms of
United States paper currency, coins or medals featuring President Reagan’s image, and the
commercial market for such materials will be substantial.

25. Littleton Coin desires to sell Reagan Presidential Medals to its customers.

26. Littleton Coin also desires to provide its customers with other currency, coins or
medals and associated promotional materials bearing President Reagan’s image as President that
are coated with precious metals or have a colorized image applied to the surface of the coin or
medal (collectively “Reagan Presidential Memorabilia”).

27. Littleton Coin has a present legal right to obtain, coat, plate, and sell the Reagan

Presidential Medals, with or without protective coatings, and other Reagan Presidential

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Memorabilia, for there is no protected and saleable right of publicity in an image of a former
president, and the Contested Rights are without legal force.

28, On information and belief, no court, including the California Federal District
Court in the prior action filed by NCM, has finally and substantively determined that NCM
exclusively enjoys any of the Contested Rights or that material such as the Reagan Presidential
Medals or other Reagan Presidential Memorabilia sold by NCM’s competitors, including
Littleton Coin, infringe upon such rights.

29, An actual controversy exists concerning the rights and obligations of Littleton

Coin and NCM that is real, adverse and ripe for judicial determination.

30. A declaration of this Court concerning the Contested Rights will materially
resolve the controversy and allow Littleton Coin to proceed without interference and threats.

COUNT I -- DECLARATORY RELIEF

VIOLATION OF THE UNITED STATES CONSTITUTION
FIRST AND FOURTEENTH AMENDMENTS

31. Littleton Coin repeats and realleges the allegations in Paragraphs 1-30 as if fully
set forth herein.

32. The First Amendment of the United States Constitution contemplates a broad
range of expression concerning sitting and former government officials, particularly those who
hold or have held significant public offices such as a current or former President. Depictions of
such persons in their official capacity are not and cannot be the exclusive property of any
individual or company, but rather are the property of all Americans.

33. Littleton Coin is entitled to the Court’s declaration that enforcement of the
Contested Rights against Littleton Coin, under any federal or state statute or common law, to bar

the sale and re-sale of Reagan Presidential Medals and other Reagan Presidential Memorabilia,

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absent licensing and a royalty payment to NCM, would deprive Littleton Coin of its rights to free
expression as secured by the First Amendment to the United States Constitution and made

applicable to states by the Fourteenth Amendment.

COUNT If -- DECLARATORY RELIEF

VIOLATION OF ARTICLE 22 OF THE NEW HAMPSHIRE CONSTITUTION,

34. Littleton Coin repeats and realleges the allegations in Paragraphs 1-33 as if fully
set forth herein.

35. Article 22 of the New Hampshire Constitution provides: “Free speech .. . [is]
essential to the security of freedom ina state . . . [and] ought, therefore, to be inviolably
preserved.”

36. Littleton Coin is entitled to the Court’s declaration that enforcement of the

Contested Rights against Littleton Coin to bar the sale and re-sale of Reagan Presidential Medals

and other Reagan Presidential Memorabilia in New Hampshire, absent licensing and royalty

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payment to NCM, would deprive Littleton Coin of its rights to free speech and would violate the
provisions of Article 22 of the New Hampshire Constitution.

COUNT III -- DECLARATORY RELIEF

NO VIOLATION OF THE LANHAM ACT OR FEDERAL COMMON LAW

37, Littleton Coin repeats and realleges the allegations in Paragraphs 1-36 as if fully
set forth herein.

38. By their letter of July 9, 2004, NCM stated that Littleton Coin’s sale of the
Reagan Presidential Medals constituted “false designation of origin and unfair competition under

United States federal and state laws.”

MARTIN PLLC 8

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39, The federal law of unfair competition and false designation or origin is codified,
in part, by the Lanham Act, 15 U.S.C. § 1125 (a), which prohibits the use of false designations of

origin, fake descriptions and dilution in the sale of goods in commerce, and by federal common

law.

40. The sale and re-sale of Reagan Presidential Medals and other Reagan Presidential
Memorabilia is unlikely to cause confusion, mistake or to deceive the public as to the affiliation,
connection, origin, sponsorship, association, or approval of such goods by NCM or the
Foundation.

41. Littleton Coin in its advertising and promotion has not misrepresented the nature,
characteristics, qualities or geographic origins of its own or NCM’s goods, or otherwise engaged
in any unfair trade practice.

42. Littleton Coin is entitled to the Court’s declaration that Littleton Coin in its
advertising, promotion and sale of Reagan Presidential Medals has not engaged in any unfair
competition under the Lanham Act or federal common law.

COUNT IV —- DAMAGES

NEW HAMPSHIRE CONSUMER PROTECTION ACT
43. Littleton Coin repeats and realleges the allegations in Paragraphs 1-42 as if fully
set forth herein.
44, NCM isa “person” engaged in “trade” and “commerce” as those terms are
defined in RSA 358-A:1. -
45. | NCM engaged in unfair and/or deceptive acts and/or practices in the conduct of
trade or commerce by asserting an exclusive right of publicity in images that are in the public

domain, by threatening litigation to enforce non-existent rights, by asserting that Littleton Coin

MARTIN PLLC 9

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was selling infringing goods and by demanding money for the legitimate sales by Littleton Coin
and others of the Reagan Presidential Medals and other Reagan Presidential Memorabilia. These
acts were unlawful, without limitation, under RSA 358-A:2 IL, IIL, V, and VII.

46. NCM’s actions were part of a concerted effort both within and without New
Hampshire, and were willful and knowing.

47. Littleton Coin has been injured and continues to suffer injury to its protected
commercial ri ghts and interests as a result of NCM’s unfair and deceptive acts or practices.

COUNT V —- DAMAGES

TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE

48. Littleton Coin repeats and realleges the allegations in Paragraphs 1-47 as if fully
set forth herein.

49. Littleton Coin had existing economic relationships whereby customers would
order Reagan Presidential Medals over its website, by phone or by mail and Littleton Coin would
supply Reagan Presidential Medals to them and would profit thereby.

30. Given its past economic relationships and business, and President Reagan’s very
recent death, Littleton Coin has a reasonable expectation and promise of expanded prospective
economic relationships and opportunities for sales of more Reagan Presidential Medals and other
Reagan Presidential Memorabilia through its channels of sale and distribution.

51. | NCM knew of these existing and prospective economic relationships and
opportunities.

52. | NCM intentionally, willfully, wantonly, maliciously and/or oppressively and
without legal right interfered with Littleton Coin’s existing and prospective economic

relationships by asserting the Contested Rights, threatening suit, demanding that Littleton Coin

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sign a license agreement and pay royalties, and by otherwise demanding money from Littleton
Coin due to its sale and prospective sales of the Reagan Presidential Medals and other Reagan
Presidential Memorabilia.

53. Littleton Coin has sustained damage as a result of such interference.

COUNT VI~INJUNCTIVE RELIEF

54. Littleton Coin repeats and realleges the allegations in Paragraphs 1-53 as if fully
set forth herein.

55. | NCM asserts claims adverse to Littleton Coin’s legal rights and commercial
interests and, unless enjoined from doing so, NCM will likely continue to attempt to block
Littleton Coin from legitimately selling and re-selling items such as the Reagan Presidential
Medals and other Reagan Presidential Memorabilia through threats of suits, actual suit and
unsupportable demands.

56. Littleton Coin is likely to succeed on the merits of this case and the balance of
hardship tilts decidedly in its favor.

57. Unless injunctive relief is granted, Littleton Coin would be irreparably harmed in
that it will be foreclosed from its rights of free expression, will lose its market for Reagan
Presidential Medals and other Reagan Presidential Memorabilia and will not be able to engage in
political speech or participate in such market at the time of peak demand.

58. The requested relief will not cause disproportionate hardship or loss to NCM, and
the public interest favors granting the requested relief.

59. Littleton Coin has no adequate remedy at law.

DOWNS
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60. The New Hampshire Consumer Protection law, under RSA 358-A:10 (1)

authorizes the granting of equitable relief, including an injunction, as the Court deems necessary

and proper.

61. State and federal law, under the circumstances here, would otherwise also

authorize the granting of equitable relief, including an injunction.

WHEREFORE, Plaintiff Littleton Coin requests that this honorable Court:

A. Issue a comprehensive declaratory judgment under Counts I, II and I stating the

rights and obligations of the parties and, specifically, that:

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1) There is no private right of publicity or privacy or exclusive right of
ownership or interest in any likeness or other aspect of the persona of President Ronald
Reagan, an important government official and political figure, when he is depicted as
such, and no such right would prohibit the appropriation of the name or likeness of
President Ronald Reagan.

2) NCM has no enforceable exclusive right of publicity or privacy or
exclusive right of ownership or interest in or concerning currency, coins or medals and
associated promotional materials bearing the image of former President Reagan that are
coated with precious metals or have President Reagan’s colorized image as President
applied to the surface of the coin or medal.

3) Any federal or state law or statute contrary to the declarations set forth in
paragraphs A(1) and C2) of this claim for relief is unconstitutional under the First and

Fourteenth Amendments to the United States Constitution.

12

4) Any law or statute of another state contrary to the declarations set forth in
paragraphs A(1) and C2) of this claim for relief that purports to be operative in New
Hampshire is unconstitutional under Article 22 of the New Hampshire Constitution.

5} Littleton Coin’s advertising and sale of Reagan Presidential Medals is not
actionable under the Lanham Act, 15 U.S.C. § 1125, or otherwise actionable under
federal or state law of unfair competition, for its advertisements and sale of Reagan
Presidential Medals does not implicate any false designation of origin, false description
of its own or NCM’s competing products, or actionable dilution of the sales of NCM’s
competing products.

B. Under Count IV, award Littleton Coin its actual damages plus its costs of suit and
attorneys’ fees, and at least twice but not more than three times such damages due to NCM’s
willful and knowing misconduct.

C, Under Count V, award Littleton Coin its actual damages plus its costs of suit and
enhanced or liberal compensatory damages due to NCM’s wanton, malicious and/or oppressive
misconduct.

D. Under Count VI, preliminarily and then permanently enjoin NCM from
interfering with Littleton Coin’s right to purchase, plate, coat and/or sell and resell currency,
coins or medals and associated promotional materials bearing the image of former President
Reagan that are or may be coated with precious metals or have President Reagan’s colorized
image as President applied to the surface of the coin or medal, including but not limited to
Reagan Presidential Medals.

E. Grant such other and further relief as the Court deems just and appropriate.

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PLAINTIFFS HEREBY DEMANDS A TRIAL BY JURY PURSUANT TO
RULE 38 OF THE FEDERAL RULES OF CIVIL PROCEDURE

St. Johnsbury, Vermont August 10, 2004

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14

